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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK



ACUITAS CAPITAL, LLC,
                                                     23 Civ. 02124 (PAE)
                   Plaintiff,

       -against-

IDEANOMICS, INC.,

                   Defendant.



             [PROPOSED] ORDER MODIFYING ORDER GRANTING
                       PRELIMINARY INJUNCTION

PAUL A. ENGELMAYER, District Judge:

       On March 31, 2023, the Court held a hearing on the motion of Plaintiff Acuitas

Capital, LLC (“Acuitas Capital”) for a preliminary injunction and preliminary declarative

relief pursuant to Federal Rule of Civil Procedure 65 and 28 U.S.C. § 2201 (the “Preliminary

Injunction Motion”) and issued an Order Granting Preliminary Injunction (ECF No. 41)

(the “Preliminary Injunction Order”).

       On April 7, 2023, the Court held a hearing on the motion of Acuitas Capital to modify

the Preliminary Injunction Order.

       The Court has reviewed Acuitas Capital’s Memorandum of Law in Support

of Application to Modify the Preliminary Injunction Order; the Declaration of Andrew B.

Kratenstein in Support of Acuitas Capital’s Application to Modify the Preliminary

Injunction Order; Defendant Ideanomics, Inc.’s (“Ideanomics”) Memorandum of Law in
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Opposition to the Modification to the Preliminary Injunction Order; and the argument

presented by the parties during the hearing held on April 7, 2023.

       For the reasons stated on the record of the hearing, IT IS HEREBY ORDERED that:

       1.      Paragraph 4 of the Preliminary Injunction Order be, and hereby is, modified

so that it now reads:

       Through and including June 19, 2023, Ideanomics shall not, without the prior written

       consent of Acuitas Capital, offer, pledge, sell, contract to sell, sell any option contract

       to purchase, purchase any option or contract to sell, grant any option, right or warrant

       to purchase, lend, or otherwise transfer or dispose of, directly or indirectly, any shares

       of capital stock of Ideanomics or any securities convertible into or exercisable or

       exchangeable for shares of capital stock of Ideanomics (including, without limitation,

       pursuant to the Standby Equity Purchase Agreement agreed between Ideanomics and

       YA II PN (“YA”) in August of 2022 (the “SEPA”), the First Amendment to the

       Secured Debenture Purchase Agreement (“Amended SDPA”) between Ideanomics

       and YA, or the Secured Convertible Debenture (“Convertible Debenture”) between

       Ideanomics and YA, both dated March 30, 2023), provided, however, that if the

       trading price of Ideanomics Common Stock is at least 20% greater than the

       conversion price of the Preferred Stock, Ideanomics shall have the right to utilize the

       SEPA to sell up to 3% of the outstanding volume of Ideanomics’ Common Stock.




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       2.      Paragraph 6 of the Preliminary Injunction Order be, and hereby is, modified

so that it now reads:

       Pending further briefing as to the legality of such sale(s), and an ensuing court order,

       Ideanomics shall hold in escrow, and not dissipate, the proceeds of any sale(s) of any

       offer, pledge, sale, contract to sell, sale of any option or contract to purchase,

       purchase of any option or contract to sell, granting of any option, right or warrant to

       purchase, lending, or otherwise transfer or dispose of, directly or indirectly, any

       shares of capital stock of Ideanomics or any securities convertible into or exercisable

       or exchangeable for shares of capital stock of Ideanomics, that was entered into on

       or after February 1, 2023, including, without limitation, any funds received from YA

       pursuant to the SEPA, Amended SDPA, or Convertible Debenture.

SO ORDERED.
                                          _____________________________
                                          HON. PAUL A. ENGELMAYER
                                          UNITED STATES DISTRICT COURT JUDGE
Dated: April 7, 2023
New York, New York




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